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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
KIMBERLY COLE, ALAN COLE,                :
JAMES MONICA, LINDA BOYD,                : Civil Action No. 13-7871 (FLW)(TJB)
MICHAEL MCMAHON, RAY                     :
SMINKEY, JAMES MEDDERS, JUDY :
MEDDERS, ROBERT PEPERNO,                 :
SARAH PEPERNO, and KELLY                 :             CLASS ACTION
MCCOY, on behalf of themselves and       :
all others similarly situated,           :
                                         :        JURY TRIAL DEMANDED
                       Plaintiffs,       :
                                         :
               v.                        :
                                         :
NIBCO, Inc.,                             :
                                         :
                       Defendant.        :


 PLAINTIFFS’ RESPONSE IN OPPOSITION TO NIBCO’S PARTIAL MOTION
      TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


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 I.         INTRODUCTION

            The defective plumbing products (together, “PEX Products”) designed,

 manufactured, and sold by Defendant NIBCO, Inc. have been failing in homes and

 other structures nationwide. The failures of the PEX Products are occurring in a

 predictable manner and are caused by a number of particular, and common, design

 and manufacturing deficiencies in those PEX Products. Plaintiffs and members of

 the putative class have suffered serious water damage caused by these deficiencies.

            On May 20, 2015, this Court granted, in part, Defendant’s motion to dismiss

 Plaintiffs’ First Amended Complaint (Dkt. No. 48). Most claims were dismissed

 without prejudice, and the Court instructed that Plaintiffs’ claims should be

 specifically pleaded under the laws of their respective home states. Accordingly,

 Plaintiffs’ Second Amended Complaint (“SAC”) (Dkt. No. 50) pleads in detail

 product liability and negligence claims under the law of each Plaintiff’s home

 state, as well as a consumer protection claim under the law of one of those states.

            Defendant has now filed a partial motion to dismiss the SAC. That motion

 refuses to recognize key allegations of the SAC, and relies on misperceptions of

 the law underlying Plaintiffs’ claims. For the reasons set forth below, NIBCO’s

 motion should be denied in its entirety.




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 II.        SUMMARY OF PLAINTIFFS’ ALLEGATIONS

            A. NIBCO’s Defective PEX Products

            For brevity, Plaintiffs incorporate pages 2-6 of Plaintiffs’ Response in

 Opposition to NIBCO’s Partial Motion to Dismiss Plaintiffs’ First Amended

 Complaint (Dkt. No. 44), discussing NIBCO’s representations about the quality of

 its PEX Products and the specific defects associated with its PEX Tubing, PEX

 Fittings, and PEX Clamps. Likewise, Plaintiffs incorporate pages 6-10 of that

 brief, for the factual basis of each Plaintiff’s claims. Also, after the dismissal of

 Plaintiff Kelly McCoy’s express warranty claim, he gave NIBCO actual notice of

 his claim prior to reasserting the claim. SAC, ¶110. See Defendant’s Brief in

 Support of Motion to Dismiss Second Amended Complaint (“Db”), Exhibit A.

 III.       LEGAL STANDARD

            Pursuant to Rule 12(b)(6), a motion to dismiss may be granted only if,

 accepting all well-pleaded allegations in the Complaint as true and viewing them in

 the light most favorable to the plaintiff, a court finds that the plaintiff’s claims lack

 facial plausibility. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The

 SAC must contain sufficient factual allegations to raise a right to relief above the

 speculative level, assuming the factual allegations are true. Id.; see also Phillips v.

 County of Allegheny, 515 F. 3d 224, 234 (3d Cir. 2008). It is the role of discovery,

 not the pleadings, to “reveal evidence” as long as the factual allegations are enough


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 to raise the right to relief above a speculative level. Twombly, 550 U.S. at 556.

 The allegations of the SAC amply meet this standard and that of Rule 9(b) as well.

                                        ARGUMENT

            A. Plaintiffs McMahon, Sminkey, and the Pepernos State Claims for
               Breach of the Implied Warranty of Merchantability Because
               Applicable Statutes of Limitations Should be Equitably Tolled

            The parties agree about the length of time afforded for Plaintiffs McMahon,

 Sminkey, and the Pepernos to sue under the applicable statutes of limitations. See

 Db5 (four years from tender for McMahon and the Pepernos; five years from

 tender for Sminkey).1 The governing statutes in each of these four Plaintiffs’ home

 states, however, expressly state that the statute “does not alter the law on tolling of

 the statute of limitations.” See Tex. Bus. & Com. Code Ann. § 2.725(d); 13 Pa.

 Cons. Stat. Ann. § 2725(d); Okla. Stat. Ann. tit. 12A, § 2725(4). Because

 Plaintiffs have alleged that Defendant was aware of and fraudulently concealed the

 defects in the PEX Products, see SAC, ¶¶137, 144-146, their pleading is sufficient

 to equitably toll the applicable statutes of limitations at the motion to dismiss stage.

            The test for equitable tolling is effectively the same in Texas, Pennsylvania,

 and Oklahoma. Plaintiffs must show that they diligently pursued their rights and

 could not have brought suit within the applicable statute of limitations due to some


 1
  Plaintiffs acknowledge that the implied warranty of merchantability claim on
 behalf of Plaintiff Boyd is barred by Alabama’s privity doctrine. Db7.


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 act or omission of the defendant or other extraordinary circumstance.2

            Plaintiffs have done precisely that here. The SAC amply alleges that by

 selling PEX Products that Defendant knew contained the defects described in the

 SAC and actively concealing the existence of those defects from Plaintiffs,

 Defendant made it impossible for Plaintiffs to bring suit – or even realize that such

 a suit was available to them – until the Products actually failed. This occurred, at

 the earliest, in March 2013 (Boyd), “early 2013” (McMahon), November 2013

 (Sminkey), and December 2013 (Pepernos). SAC, ¶¶49, 62, 73, 97. Allowing

 Defendant to escape liability due to its fraudulent and purposeful omissions

 regarding the PEX Products would condone the exact conduct the equitable tolling

 doctrine aims to prevent. The Court should thus reject Defendant’s limitations

 argument and allow these Plaintiffs’ implied warranty claims to proceed.


 2
  See, e.g., Alvarado v. Abijah Group, Inc., 2015 Tex. App. LEXIS 7772, at *10
 (Tex. Ct. App. July 29, 2015) (“a defendant’s fraudulent concealment of
 wrongdoing may toll the statute of limitations after the cause of action accrues. A
 party asserting fraudulent concealment must establish an underlying wrong, and
 that the defendant actually knew the plaintiff was in fact wronged, and concealed
 that fact to deceive the plaintiff”) (internal quotations and citations omitted);
 Norm's, Ltd. v. Atlas Noble, 2015 Pa. Super. Unpub. LEXIS 1286, at *9 (Pa. Super.
 Ct. May 8, 2015) (“If through fraud or concealment the defendant causes the
 plaintiff to relax his or her vigilance or deviate from his or her right of inquiry, the
 defendant is estopped from invoking the bar of the statute of limitations”); Thaxton
 v. Ben. Mortg. Co., 145 P.3d 124, 127 (Okla. Ct. App. 2006) (the doctrine of
 equitable tolling “extends the statute of limitations if the plaintiff did not have and
 could not with due diligence obtain the information necessary for bringing suit
 within the limitations period”) (citation omitted).


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            B. Plaintiff McCoy States a Claim for Breach of Express Warranty
               Because He Provided Defendant Reasonable Notice of the Breach

            In its May 20, 2015 decision, the Court concluded that Mr. McCoy’s breach

 of express warranty claim failed because he did not plead “that he provided notice

 or a reasonable opportunity to repair the allegedly defective PEX products to

 Defendant, pursuant to the terms of the warranty.” Cole v. NIBCO, Inc., 2015 U.S.

 Dist. LEXIS 65960, at *25-26 (D.N.J. May 20, 2015). As detailed in the SAC, and

 as documented in the attachments to Defendant’s brief, Mr. McCoy has corrected

 that deficiency and thus asserts a viable claim for breach of express warranty.

            Defendant’s focus on “pre-suit” notice misses the point, as Georgia does not

 require that notice be provided prior to filing suit so long as the notice given is

 reasonable. See, e.g., Wal-Mart Stores, Inc. v. Wheeler, 586 S.E. 2d 83 (Ga. Ct.

 App. 2003) (post-suit notice of breach of warranty claim through service of

 amended complaint more than two years after an accident at issue not unreasonable

 as a matter of law). The pertinent question is whether Defendant has had a

 reasonable opportunity to repair the PEX Products under the warranty. It has.

            On May 28, 2015, Mr. McCoy, through his attorneys, provided counsel for

 NIBCO with written notice of the defects in his PEX Products and NIBCO’s

 breach of warranty, requesting that NIBCO rectify the situation and “make things

 right.” Db, Exhibit A. In a June 15, 2015 response, counsel for NIBCO stated that

 Mr. McCoy “should be instructed to follow the outlined process, contacting

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 NIBCO, wherein a product return authorization number will be issued and your

 client will be instructed to return the alleged defective product(s).” Id., Exhibit B.

            Defendant’s suggestion that Mr. McCoy’s notice is deficient because he did

 not return the defective product for inspection is belied by the June 15 letter itself,

 wherein Defendant’s counsel states that Mr. McCoy would be instructed to return

 the product after being issued a “product return authorization number.” Over two

 months after NIBCO’s letter, no such number has been issued to Mr. McCoy.

 Thus, despite NIBCO’s knowledge of Mr. McCoy’s allegations of defects in the

 PEX Products, it has refused to provide him a product return authorization number

 or to otherwise remedy the defect within a reasonable time, thereby breaching its

 express warranty. See Cole, 2015 U.S. Dist. LEXIS 65960, at *25.

            Mr. McCoy has done what the Court previously said he needed to do: he

 has “pleaded that he provided notice or a reasonable opportunity to repair the

 allegedly defective PEX products to Defendant.” Id., at *25-26. He should be

 allowed to proceed with his breach of express warranty claim.

            C. Plaintiffs’ Product Liability Claims Should be Sustained

            Defendant offers several arguments in support of dismissal of Plaintiffs’

 product liability claims. All of those contentions lack merit.




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            Each Plaintiff has asserted a valid product liability claim arising out of

 losses caused by defective PEX Products. Each Plaintiff has alleged the required

 elements of a product liability claim, including the specific NIBCO PEX Products

 installed in their respective homes, the dates of installation, the specific failures of

 the NIBCO PEX Products, the specific product involved in those failures, a

 description of the defect and failure mode of the PEX Products, and a description

 of the damage caused by the failures. Additionally, to the extent required by

 applicable law, the SAC outlines how the risks associated with the design of

 NIBCO PEX Products outweighs the benefits and contains adequate factual

 descriptions of alternative designs for the NIBCO PEX Tubing, NIBCO PEX

 Fittings and NIBCO PEX Clamps.

            1. Plaintiffs Can Sue for Defective NIBCO PEX Components That Are
               Not Present in Their Homes, Since All the PEX Products Are Related

            NIBCO mistakenly argues that no Plaintiff can bring a product liability

 claim regarding defective PEX Clamps because they have no such PEX Clamps,

 and that Plaintiffs who have suffered failure only of either PEX Tubing or PEX

 Fittings cannot sue regarding the other component. Plaintiffs, however, have

 alleged that NIBCO marketed and sold defective PEX Clamps, PEX Fittings, and

 PEX Tubing as a single product line (the PEX product line) designed to be

 installed as a unit. See, e.g., SAC, ¶118. Thus, NIBCO’s warranty increases from

 10 years to 25 years when the PEX Tubing is also installed with “PEX fittings, and

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 NIBCO® valves and installation accessories.” SAC, ¶131. Defendant’s own

 integration of the various defective PEX Products prevents any attempt to slice and

 dice those PEX Products in order to narrow this case.

            Moreover, the SAC alleges that the defects associated with the NIBCO PEX

 Tubing and PEX Fittings are present from the moment of sale, though the failure

 modes associated with those respective defects take time to develop. SAC, ¶¶121,

 135-136, 138. The fact that some Plaintiffs do not yet have failures associated

 with multiple different components of NIBCO PEX Products does not mean that

 those failures will not manifest themselves in time. Thus, it would be premature to

 dismiss those claims even if the various PEX Products were not an integrated unit.

            Besides, it is well-established that plaintiffs may assert claims in a

 representative capacity on behalf of a class that includes individuals who

 purchased distinct, but similar products. See Durso v. Samsung Elecs. Am., Inc.,

 2013 U.S. Dist. LEXIS 160596, at *14 (D.N.J. Nov. 6, 2013) (“This Court agrees

 and finds that dismissal of Plaintiffs’ claims related to products Plaintiffs did not

 purchase or defects Plaintiffs did not suffer would be premature at this time.”); see

 also Baby Neal v. Casey, 43 F.3d 48, 58 (3d Cir. 1994) (“where an action

 challenges a policy or practice, the named plaintiffs suffering one specific injury

 from the practice can represent a class suffering other injuries, so long as all the

 injuries are shown to result from the practice.”); Haas v. Pittsburgh Nat'l Bank,


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 526 F.2d 1083, 1088-89 (3d Cir. 1975) (though plaintiff lacked standing to pursue

 a particular claim, she could assert that claim in a putative class action where she

 did have standing to pursue two closely related claims against the same defendant).

            Here, Plaintiffs have established that the PEX Products were advertised and

 sold as a unit and that all of the PEX Products are defective for the reasons set

 forth at length in the SAC. NIBCO is challenging the representative capacity of

 Plaintiffs, which should be addressed at class certification and not on a motion to

 dismiss. See, e.g., Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 599 (3d Cir.

 2012) (holding that plaintiff who purchased only one type of tire satisfied

 typicality requirement for a class that included “different tire models and sizes, and

 different vehicles, [that] have different performance characteristics, compositions,

 designs, purposes, and uses”); Clancy v. Bromley Tea Co., 2013 U.S. Dist. LEXIS

 112722, at *19-20 (N.D. Cal. Aug. 9, 2013) (rejecting defendant’s argument that

 plaintiff did not have standing to assert claims regarding products he never

 purchased because “applying the concept of standing to dismiss proposed class

 action allegations is a category mistake”).

            2. Each Plaintiff Has Identified the Specific NIBCO PEX Product and
               Defect That Caused His, Her, or Their Property Damage

            Though Defendant contends that Plaintiffs have not “trac[ed] their plumbing

 problems to the particular defects alleged,” Db12, the SAC in fact does that in

 great detail. NIBCO has simply failed to confront those allegations.

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            The SAC alleges that PEX Tubing is defective because it is susceptible to

 premature oxidative failure and creep rupture caused by insufficient product

 stabilization and improper cross linking of PEX materials. See SAC, ¶¶ 2, 121.

 The SAC alleges that consumers have experienced water leakage, and resulting

 damage, as a result of that defect. SAC, ¶121.

            The SAC alleges that NIBCO PEX Fittings are defective because they are

 prone to dezincification corrosion. SAC, ¶3. The SAC details the process and

 negative impact of the dezincification corrosion of NIBCO’s PEX Fittings and

 asserts that water losses are occurring across the county as a result of the defect.

 See SAC, ¶¶134-138.

            Finally, the SAC alleges that the NIBCO PEX Clamps are defective because

 they are prone to chloride-induced stress corrosion cracking. SAC, ¶4. The SAC

 also describes at length the process and negative impact of chloride induced stress

 corrosion cracking and asserts that water losses are occurring as a direct result of

 that defect. SAC, ¶¶138-144.

            In addition to factually describing the various defects, the SAC outlines

 which defective NIBCO PEX Product failed and caused damage in each of the

 respective Plaintiffs’ homes to date:




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               Plaintiff             Defective PEX         Defect That
                                     Product               Caused Damage
               Coles                 NIBCO PEX             SAC, ¶¶20, 21, 22,
                                     Fittings and          25
                                     Tubing
               Monica                NIBCO PEX             SAC, ¶¶33, 34, 40
                                     Fittings
               Boyd                  NIBCO PEX             SAC, ¶¶46, 49-51,
                                     Tubing                53
               McMahon               NIBCO PEX             SAC, ¶¶59, 62-64,
                                     Tubing                66
               Sminkey               NIBCO PEX             SAC, ¶¶70, 73-77
                                     Tubing
               Medders               NIBCO PEX             SAC, ¶¶81, 84-86,
                                     Fittings              88-89
               Peperno               NIBCO PEX             SAC, ¶¶94, 97-
                                     Tubing                100, 101-102
               McCoy                 NIBCO PEX             SAC, ¶¶106, 108-
                                     Tubing                109

            With the foregoing factual predicate, each Plaintiff has sufficiently alleged

 that their respective damages were caused by an identified defect in a particular

 NIBCO PEX Product. Therefore, Counts III though X state plausible claims for

 relief and should be sustained.

            3. Plaintiffs Monica, Boyd, McMahon, Sminkey, McCoy, and the
               Medders Have All Stated Claims for Design Defect

            Defendant erroneously contends that the above Plaintiffs did not plead (1)

 the existence of a safer alternative design available to NIBCO at the time the PEX

 Products were installed in Plaintiffs’ homes, or (2) that the risk inherent in the

 design of the PEX Products outweighed their utility. Plaintiffs have alleged both



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 of those things.

            With respect to risk/utility of NIBCO’s PEX Products, paragraph 184 of the

 SAC specifically alleges that the risk associated with the NIBCO PEX Products

 exceed the benefits associated with their design:

            184. NIBCO PEX Products are defective in design in that they are not
            reasonably fit, suitable or safe for their intended purpose and/or their
            foreseeable risks exceed the benefits associated with their design. NIBCO
            PEX Products are defective in design and manufacture for the reasons set
            forth in paragraphs 121-144 above.

 [SAC, ¶184].

            Paragraph 184 of the SAC, which itself is not a mere conclusion but is

 expressly premised on the detailed allegations of paragraphs 121-144, is

 specifically incorporated by reference in the product liability Counts of Plaintiffs

 Boyd, McMahon, the Medders, Sminkey, and McCoy. SAC, ¶¶198, 210, 219, 238.

 Therefore, each of those claims contains the allegation that the risks posed by the

 various NIBCO PEX Products outweigh their utility. The SAC also details the

 risks associated with the NIBCO PEX Products that lead to their premature failure

 during normal and anticipated use. See SAC ¶2 (generally); ¶¶121-124 (regarding

 NIBCO PEX Tubing); ¶¶ 3, 4, 125-144 (as to NIBCO PEX Fittings and Clamps).

            Defendant demands dismissal because the SAC supposedly does not allege

 alternative designs for the PEX Products. But requiring Plaintiffs to plead a

 reasonable alternative design at this stage of the litigation is premature. NIBCO


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 relies on Am. Tobacco Co. v. Grinnell, 951 S.W.2d 420, 427 (Tex. 1997) a

 summary judgment decision that benefitted from a full factual record. The court

 there granted summary judgment only after considering expert testimony regarding

 a reasonable alternative design. Id. at 433 (quoting expert deposition transcripts).

            Similarly, Pennsylvania courts routinely require expert testimony regarding

 the existence of a reasonable alternative design. See, e.g., Jackson v. Louisville

 Ladder, Inc., 2013 U.S. Dist. LEXIS 96836, at *18 (M.D. Pa. July 11, 2013)

 (discussing the findings of plaintiffs’ expert and deposition testimony regarding a

 reasonable alternative design); Lynn v. Yamaha Golf-Car Co., 894 F. Supp. 2d 606,

 629-30 (W.D. Pa. 2012) (holding plaintiff produced sufficient evidence on

 summary judgment for a jury to conclude a reasonable alternative design was

 available after expert discovery and testimony).3 Indeed, the necessity of

 establishing a reasonable alternative design requires the use of a “risk-utility”

 balancing test in which the current design is measured against a hypothetical

 alternative design. See, e.g., id. at 633; Hernandez v. Tokai Corp., 2 S.W.3d 251,


 3
   NIBCO relies on Salvio v. Amgen, Inc., 810 F. Supp. 2d 745 (W.D. Pa. 2011), for
 the notion that plaintiffs must plead the existence of a reasonable alternative design
 at the 12(b)(6) stage. In Salvio, the plaintiff brought a wrongful death action based
 on the use of a prescription drug that warned of the risk of infection. The
 plaintiff’s complaint failed to identify a drug that would treat her without the same
 risk of infection. Ultimately, the effectiveness of the drug for its intended use was
 not disputed. In contrast, Plaintiffs have alleged the PEX Products are unsuitable
 for their intended use because they fail for their essential purpose: to carry water
 without leaking. E.g., SAC, ¶11. Salvio is not analogous.
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 256-257 (Tex. 1999) (discussing “the risk-utility analysis Texas has for years

 employed in determining whether a defectively designed product is unreasonably

 dangerous”).

            When considering a reasonable alternative design, courts consider the

 following factors:

            (1) the magnitude and probability of the foreseeable risks of harm; (2)
            the instructions or warnings accompanying the product; (3) the nature
            and strength of consumer expectations regarding the product,
            including expectations arising from product portrayal and marketing;
            and (4) the relative advantages and disadvantages of the product as
            designed compared to as it alternatively could have been designed
            (i.e., the likely effects of the alternative design on production costs,
            the effects on product longevity, maintenance, repair, and aesthetics,
            and the range of consumer choice among products).

 [Lynn, 894 F. Supp. 2d at 631]. As the fourth factor plainly indicates, this analysis

 must include a comparison of the original product’s manufacturing and design

 costs to an alternative. In order to perform such an analysis, Plaintiffs need

 discovery to identify “product costs, the effects on product longevity, maintenance,

 repair, and aesthetics” of the PEX Products before a reasonable alternative design

 can be proposed. Id. The Court should reject NIBCO’s argument as premature.

            Regardless, the SAC does contain ample allegations of feasible alternative

 designs for NIBCO’s PEX Tubing, Fittings and Clamps. With respect to the

 NIBCO PEX Tubing, the SAC alleges:




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            121. Despite NIBCO’s attestations to the quality and superiority of its PEX
            Tubing, consumers all across the United States have experienced water
            damage and catastrophic PEX Tubing failures caused by slow growth
            cracking mechanisms consistent with oxidative failure and/or creep rupture.
            These slow growth cracking mechanisms have been caused by the
            insufficient stabilization and/or improper cross-linking of the PEX material
            used by NIBCO to manufacture its PEX Tubing.

 [SAC, ¶121 (emphasis added)]. Thus, the SAC alleges PEX Tubing that is

 sufficiently stabilized and properly cross-linked as a feasible alternative to

 NIBCO’s PEX Tubing.

            With respect to NIBCO PEX Fittings, the SAC alleges:

            138. The design, materials choices, and manufacturing practices of the brass
            fittings and stainless steel PEX Clamps marketed and sold by Defendant
            have created damaged products that begin to fail on their first day of use,
            even if properly installed in their intended environment. Upon information
            and belief, Defendant no longer advertises these defective PEX Fittings on
            its website due to the design defect and susceptibility to dezincification.
            Currently, Defendant advertises fittings that are “dezincification resistant.”

 [(SAC, ¶138 (emphasis added)]. Dezincification-resistant fittings are thus at least

 one feasible design alternative to NIBCO’s defective PEX Fittings.

            Finally, with respect to NIBCO PEX Clamps, the SAC alleges:

            140. The failing PEX Clamps are manufactured from a stainless steel alloy
            that is known to be susceptible to stress corrosion cracking in the presence of
            chlorides, and these clamps are used in a design where simultaneous
            exposure to static tensile stress and chlorides is (or should have been)
            reasonably anticipated. Stress corrosion cracking could not occur in the PEX
            Clamps if the clamps were manufactured from a material that is not
            susceptible to chloride induced stress corrosion cracking. Alternate
            materials that are generally immune to chloride induced stress corrosion
            cracking (exhibiting little or no susceptibility) and that are approved for
            plumbing applications in the United States were readily available at little or

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            no additional cost at the time the failing clamps were manufactured.

 [SAC, ¶140 (emphasis added)].

            The foregoing allegations sufficiently plead feasible alternative designs for

 each of the NIBCO PEX Products. NIBCO’s request to dismiss the product

 liability claims contained in Counts IV, VI, VII, VIII, and X should be denied.

            4. Plaintiffs Adequately Allege a Manufacturing Defect Claim

            At the pleading stage, a plaintiff is not required to differentiate between

 defects in design and manufacture. In re Caterpillar, Inc., C13 & C15 Engine

 Products Liab. Litig., 2015 U.S. Dist. LEXIS 98784, at *65-66 (D.N.J. July 29,

 2015) (whether alleged repeated engine failures were caused by defective design or

 defective manufacture is a factual question that court cannot resolve on a motion to

 dismiss); New Hope Pipe Liners v. Composite One, LLC, 2009 U.S. Dist. LEXIS

 111217, at *13 (D.N.J. 2009) (allegation that a product did not work as represented

 is sufficient to support an inference that the product suffered from a design or

 manufacturing defect). Regardless, the SAC sufficiently alleges a manufacturing

 defect.

            The SAC alleges the defects in NIBCO PEX Tubing, Fittings and Clamps,

 the representations made by NIBCO with respect to the superiority of its products,

 the numerous product failures within the anticipated useful life of NIBCO PEX

 Products, and the damages caused by those failures. Those facts alone are


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 sufficient to place NIBCO on notice of a plausible claim of manufacturing defect.

            NIBCO argues that each Plaintiff’s claim for manufacturing defect should be

 dismissed because of the absence of an allegation as to how the failed NIBCO PEX

 Products deviated from the product’s design specification. Defendant seeks to

 hold Plaintiffs to an impossible standard since, without discovery, Plaintiffs have

 no access to design specifications (and NIBCO has not produced a single design

 specification despite numerous requests from Plaintiffs). In fact, under the law of

 Plaintiffs’ home states, Plaintiffs are not required to identify the precise nature of

 the manufacturing defect as Defendant demands. Instead, Plaintiffs may establish

 a manufacturing defect using circumstantial evidence, as opposed to direct

 evidence of deviation from specifications.4


 4
   Moraca v. Ford Motor Co., 66 N.J. 454, 458 (1975) (to establish a manufacturing
 defect, injured plaintiff need only show, “in a general sense and as understood by a
 layman, that something was wrong with the product.”) (citations omitted); Mendez
 v. Shah, 28 F. Supp. 3d 282, 297 (D.N.J. 2014) (allegation that the medical records
 indicate that the device had a “hardware failure” suggested a plausible claim that
 the device as manufactured did not conform to standards of other units of the same
 kind); Rudd v. Gen. Motors Corp., 127 F. Supp. 2d 1330, 1345 (M.D. Ala. 2001)
 (Alabama law allows plaintiffs to show a product was defective or unreasonably
 dangerous despite a lack of direct evidence identifying a specific defect): Varner v.
 MHS, Ltd., 2 F. Supp. 3d 584 (M.D. Pa. 2014) (under the “malfunction theory” of
 liability, applied to claims of manufacturing defect under Pennsylvania law,
 plaintiffs may use circumstantial evidence, rather than direct evidence, to show that
 product was defective); Shaun T. Mian Corp v. Hewlett-Packard Co., 237 S.W. 3d
 851 (Tex. Ct. App. 2007) (plaintiff may use circumstantial evidence that a product
 contains a manufacturing defect and need not show by direct proof how the
 product became defective or identify a specific engineering or structural defect);
 Lee v. Volkswagen of Am., Inc., 688 P.2d 1283, 1285-86 (Okla. 1984) (in product
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            Plaintiffs’ SAC highlights NIBCO’s product warranties, which guarantee

 that PEX Tubing will be “free from defects in materials and workmanship for a

 period of twenty-five (25) years from the date of purchase when installed by a

 licensed professional contractor…” or “…NIBCO INC. warrants NIBCO PEX

 tube, when used under normal conditions, use and service in potable water and

 radiant heat systems with brass insert fittings meeting NSF/ANSI 61, ASTM

 F1807 and ASTM F877 to be free from defects in materials and workmanship for a

 period ten (10) years form [sic] the date of purchase.” SAC, ¶122. Likewise, with

 respect to PEX Fittings and Clamps, NIBCO warrants the following: “NIBCO Inc.

 warrants that when NIBCO® PEX tube is used with NIBCO® PEX fittings, and

 NIBCO® valves and installation accessories, they will, under normal conditions,

 use and service in potable water and radiant heat systems, be free from defects in

 materials and workmanship for a period of twenty-five (25) years from the date of

 purchase when installed by a licensed professional contractor.” SAC, ¶131.

            Each Plaintiff has alleged that NIBCO’s PEX Products were installed by a

 licensed contractor (SAC, ¶¶18, 31, 47, 60, 71, 82, 95, 107) and failed long before

 the expiration of NIBCO’s warranty. The Coles experienced their first failure 18

 liability actions against manufacturers, circumstantial evidence, coupled with
 proper inferences drawn from it, is sufficient, since actual or absolute may be only
 within the possession or peculiar knowledge of the defendant); Rose v. Figgie Int'l,
 Inc., 495 S.E.2d 77, 81 (Ga. Ct. App. 1997) (existence of a manufacturing defect in
 a products liability case may be inferred from circumstantial evidence).


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 months after installation (SAC, ¶20), Mr. Monica’s first failure was 23 months

 after installation (SAC, ¶¶29, 33), Mr. Boyd’s first failure was less than five years

 after installation (SAC, ¶¶ 45, 49), McMahon’s first failure was less than six years

 after installation (SAC, ¶¶58, 62), Mr. Sminkey’s first failure was less than five

 years after installation (SAC, ¶¶69, 73), the Medders’ first failure was less than

 two years after installation (SAC, ¶¶80, 84), the Pepernos’ first failure was slightly

 more than six years after installation (SAC, ¶¶93, 97) and Mr. McCoy’s first

 failure was within five years after installation (SAC ¶¶ 105, 108, 110).

            At a minimum, the fact that each plumbing system was installed by a

 licensed contractor, was used in its anticipated fashion, and failed well within the

 warranty period is sufficient circumstantial evidence of a manufacturing defect to

 support a plausible claim for relief at the pleadings stage. Therefore, Plaintiffs’

 product liability claims based on manufacturing defect should be sustained.

            D. Plaintiffs have adequately alleged a negligence claim.

            Ignoring the SAC’s detailed allegations, NIBCO argues that Plaintiffs’

 negligence claims should be dismissed because Plaintiffs have failed to plead facts

 regarding NIBCO’s internal and non-public product development and testing

 procedures and because Plaintiffs have failed to identify alternative designs that,

 by nature, require discovery into NIBCO’s internal and non-public product

 development and testing procedures. Plaintiffs debunked the “alternative design”


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 argument supra at 12-16, and Plaintiffs respectfully incorporate that discussion

 here. The SAC’s allegations relating to defective PEX Products go well beyond

 the pleading requirements of Rule 8(a). Thus, Plaintiffs’ negligence claims should

 be sustained.5

               1. Plaintiffs have alleged enough facts to support a negligence claim

            NIBCO mirrors its argument on the negligence claims from the Court’s first

 ruling. Db20. The Court, however, rejected Plaintiffs’ negligence claims because

 they were jointly pled under one Count, as opposed to separate Counts based on

 each state’s laws. See Cole, 2015 U.S. Dist. LEXIS 65960, at *30. Plaintiffs

 addressed these issues in the SAC and, as set forth below, NIBCO’s attempt to

 identify specific pleading deficiencies for any Plaintiff’s negligence claim fails.

            Next, Defendant misguidedly seeks to impose a burden on Plaintiffs to

 allege specific facts detailing the flaws with NIBCO’s internal and confidential

 procedures regarding the design, manufacture, testing, and product evaluation of

 the PEX Products. Db20-21. NIBCO, however, cites no case that imposes a duty

 on plaintiffs, at the pleading stage, to identify flaws in a defendant’s non-public

 internal testing and product evaluation procedures.

            Plaintiffs’ SAC describes with great specificity: the failure of Plaintiffs’


 5
  Plaintiffs concede that Ms. Boyd’s, Mr. McCoy’s, and the Pepernos’ claims for
 negligent marketing and/or testing cannot proceed under the respective state laws
 applicable to those claims. See Db24-25.
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 PEX Products (SAC, ¶¶14-111); after consultation with experts, the specific

 defects that led to the failures of the PEX Products, ¶121 (slow growth cracking

 consistent with oxidative failure and/or creep rupture of the PEX Tubing); ¶¶135-

 138 (dezincification of the PEX Fittings); ¶¶139-144 (chloride-induced stress

 corrosion cracking of the PEX Clamps)); and the duties of care NIBCO breached

 to Plaintiffs and all consumers when designing PEX Products that are prone to

 these failures (see, e.g., id., ¶¶ 251-254). Defendant demands that the Court

 dismiss Plaintiffs’ claims for failing to plead facts that detail the deficient or absent

 testing procedures of the PEX Products. Plaintiffs, however, “cannot be expected

 to have personal knowledge of the details of corporate internal affairs.” Craftmatic

 Sec. Litig. v. Kraftsow, 890 F.2d 628, 645 (3d Cir. 1989).6 Plaintiffs’ negligence

 claims provide a sufficient factual basis to “‘state a claim to relief that is plausible

 on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (citing Twombly, 550

 U.S. at 555 (2007)).

            NIBCO also argues that Plaintiffs’ negligence claims regarding the defective

 PEX Clamps should be dismissed because none of the Plaintiffs experienced the

 failure of a PEX Clamp. Plaintiffs disposed of this argument supra at 7-9

 6
   See also Kowalsky v. Hewlett-Packard Co., 2011 U.S. Dist. LEXIS 89379, at *14
 (N.D. Cal. Aug. 10, 2011) (“Here, the charge is that HP knew about the defect
 from testing the product and falsely advertised to consumers or, alternatively, did
 not test the product but made specific claims about the product without any
 reasonable basis for doing so. In either case, the SAC gives HP sufficient notice of
 the charge in order to defend against it.”).
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 regarding their product liability claims.

            NIBCO also rehashes its earlier argument that Plaintiffs’ specific factual

 allegations regarding the PEX Clamps’ predisposition to chloride-induced stress

 corrosion cracking are “vague” and not detailed enough to support a claim that

 NIBCO was negligent. Db21. Such an argument should be rejected for the same

 reasons set forth supra, as Plaintiffs have pled, with great specificity, the nature of

 the defect inherent in the PEX Clamps. Again, NIBCO has failed to identify a

 single case that places the burden on Plaintiffs to identify and correct any flaws in

 NIBCO’s design and manufacturing procedures before discovery on those specific

 procedures has been completed.

            NIBCO also argues that Plaintiffs’ allegation that “NIBCO manufacturers

 and sells PEX Fittings that purportedly conform to ASTM standard F1807”

 somehow weakens their negligence claims.7 Db21-22 (emphasis added).

 Plaintiffs’ allegations make clear that NIBCO advertises that the PEX Fittings

 conform to ASTM standard F1807, not that the PEX Fittings actually conform to

 such standards. SAC, ¶126. Defendant’s advertisements and warranty statements

 that the PEX Fittings conform to ASTM standard F1807 are contrasted with the

 experiences of Plaintiffs, such as Mr. Monica, who experienced dezincification

 7
  NIBCO says that Plaintiffs “concede NIBCO has met industry standards”
 regarding the PEX Fittings. Db 22 n.19. As shown in the accompanying text and
 in the SAC, Plaintiffs have made no such concession.


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 corrosion of his ASTM F1807 PEX Fitting that led to complete failure and leaking.

 See, e.g., SAC, ¶¶37-39.

            Put simply, NIBCO’s claim that the PEX Fittings conform to ASTM

 standard F1807 is undermined by Plaintiffs’ experiences, the specific defect

 allegations in the SAC, and the fact that NIBCO has ceased selling them. Thus,

 Plaintiffs’ allegations have created an issue of fact as to whether the PEX Fittings

 actually conform to ASTM standard F1807.8 And even if NIBCO could prove that

 the defective PEX Fittings comply with ASTM F1807, “industry standards are not

 dispositive of negligence issues. . . .” Cordy v. Sherwin Williams Co., 975 F. Supp.

 639, 645 (D.N.J. 1997) (citation omitted).

            NIBCO reiterates that Plaintiffs’ negligence claims in both Alabama (Count

 XI) and Georgia (Count XV) fail for the same reasons that Defendant offered in

 seeking to dismiss Plaintiffs’ product liability claims. Db24 (citing Db Section

 8
   See, e.g., Anderson v. Hedstrom Corp., 76 F. Supp. 2d 422, 450 (S.D.N.Y. 1999)
 (concluding that the question of whether the ANSI or ASTM requirements
 constitute the industry standard and the question of whether the defendant's
 compliance or lack of compliance with the appropriate standard should result in
 liability should be left to the jury); In re Sony Gaming Networks & Customer Data
 Sec. Breach Litig., 996 F. Supp. 2d 942, 995 (S.D. Cal. 2014) (finding a question
 of fact where plaintiffs alleged Sony warranted it would utilize industry-standard
 encryption but failed to do so); Jack Henry & Assocs. v. BSC, Inc., 2010 U.S. Dist.
 LEXIS 92994, at *16 (E.D. Ky. Sept. 7, 2010) (resolving conformity with industry
 standards is a question of fact for the jury); Nygren v. Greater N.Y. Mut. Ins. Co.,
 2009 U.S. Dist. LEXIS 26078, at *13 (D. Conn. Mar. 27, 2009) (“the Court
 believes that it is best left to the jury to decide whether any industry standards or
 practices have been violated.”).


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 IV.C). Plaintiffs addressed those arguments in discussing their product liability

 claims. Supra at 6-19. Defendant’s contentions fare no better in connection with

 the negligence claims.

            In sum, NIBCO has failed to demonstrate that Plaintiffs’ detailed allegations

 do not state a claim upon which relief can be granted.9 Plaintiffs’ negligence

 claims should be sustained.

               2. The economic loss doctrine does not affect Plaintiffs’ claims for
                  property damage

            As Defendant recognizes, the economic loss doctrine is not applicable to


 9
  NIBCO cites, without analysis, a handful of factually inapposite cases, in which
 the pleadings fell far short of the SAC here. In Mallory v. Biomet, Inc., 2014 U.S.
 Dist. LEXIS 173781, at *13-14 (M.D. Ala. Dec. 4, 2014), the plaintiff failed to
 allege any “factual content” of a defect and even failed to allege her injury was
 caused by the defendant’s product. Swisher v. Stryker Corp., 2013 U.S. Dist.
 LEXIS 185998, at *6 (W.D. Okla. Mar. 14, 2013), a Class III medical device case,
 was a case where the plaintiff failed to allege a manufacturing defect, which was
 especially problematic in light of the FDA’s “rigorous Pre-Market Approval
 (“PMA”) process and the [FDA’s] continued strict oversight over Class III
 devices.” Id. Moreover, the plaintiff failed to identify any causal connection
 between the non-identified defect and injury. Id., at *8-9. Similarly, in Polando
 v. Sears, Roebuck & Co., 2013 U.S. Dist. LEXIS 29700, at *3 (W.D. Okla. Mar. 4,
 2013), the plaintiff’s sole factual allegation was that the product failed, with no
 allegations describing any defect. In Goodson v. Boston Sci. Corp., 2011 U.S.
 Dist. LEXIS 149193 (N.D. Ga. Dec. 29, 2011), the plaintiff did “not describe how
 the [medical devices] were defective.” Id., at *11 (emphasis in original). The
 plaintiff in Steen v. Medtronic, Inc., 2010 U.S. Dist. LEXIS 65579, at *5 (N.D.
 Tex. June 25, 2010), also failed to offer “factual allegations showing how the
 pacemaker was [defective].” Salvio v. Amgen, Inc., 810 F. Supp. 2d 745, was
 addressed supra at 14 n.3. In contrast, the SAC identifies the specific defect in
 each of the PEX Products and connects those defects to the failures of Plaintiffs’
 own Products.
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 Plaintiffs’ claims for property damage arising out of the failure of the PEX

 Products. See Db25-26. Plaintiffs acknowledge, however, that the economic loss

 doctrine prevents them from recovering the economic cost to repair or replace their

 PEX Products.

            E. Plaintiffs Have Adequately Pleaded Failure to Warn Claims

            Defendant sets up a standard for failure to warn claims that finds little if any

 support from the controlling authority, misreads and misapplies the principles of

 duty and causation, and impermissibly attempts to avoid the consequences of its

 complete failure to provide any warning at all of the defects inherent in the PEX

 Products to Plaintiffs. NIBCO gave no such warning to Plaintiffs, or even to the

 contractors or other workmen who installed the Products in Plaintiffs’ homes.

            In the SAC, Plaintiffs allege that:

            1.)   Defendant failed to provide any warnings whatsoever, whether to

                  Plaintiffs, contractors, installers, or anyone else, regarding the

                  defective nature of the PEX products and the risk of water loss and

                  damages associated with the use of the Products, see SAC, ¶¶177,

                  194-196, 207, 216, 226, 235, 246, 254; and

            2.)   Defendant’s failure to warn proximately caused Plaintiffs’ injuries,

                  including extensive damage to their plumbing systems and

                  surrounding property, see SAC, ¶¶179, 190, 197, 209, 218, 228, 237,


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                  248, 255.

            Under the law of each Plaintiff’s home state, a manufacturer or supplier of a

 product has a duty to warn someone about defects inherent in the product.10

 Typically, this is the end user, like Plaintiffs here. See Restatement (Second) of

 Torts § 402A (“Special Liability of Seller of Product for Physical Harm to User or

 Consumer”) (“[I]t is not necessary that the ultimate user or consumer have

 acquired the product directly from the seller, although the rule applies equally if he

 10
   Whether the failure to warn is considered in the context of negligence or product
 liability, the majority of courts have determined that the outcome is the same. See
 Anguiano v. E.I. DuPont De Nemours & Co., 44 F.3d 806, 811-12 (9th Cir. 1995)
 (stating that "the question whether a manufacturer has a duty to warn under strict
 liability depends on the standards for determining a duty to warn under a
 negligence action pursuant to [Restatement (Second)] section 388"); Klem v. E.I.
 DuPont De Nemours Co., 19 F.3d 997, 1001-03 (5th Cir. 1994) (holding that
 failure-to-warn claims in strict liability and in negligence duplicate one another);
 Werner v. Upjohn Co., 628 F.2d 848, 858 (4th Cir. 1980) (stating that although the
 negligence and strict liability theories may be phrased differently the issue is
 generally the same: "was the warning adequate?"), cert. denied, 449 U.S. 1080
 (1981); Sterling Drug, Inc. v. Yarrow, 408 F.2d 978, 992-93 (8th Cir. 1969)
 (holding that the duties imposed by §§388 and 402A of the Restatement are the
 same regardless of characterization, because the manufacturer must give a warning
 that is reasonable under the circumstances); Sell v. Bertsch & Co., 577 F. Supp.
 1393, 1397 (D. Kan. 1984) (stating "A failure to warn may be negligence under
 Restatement § 388 or may make the product 'defective' under Restatement § 402 A.
 … Under either theory, the duty to warn is one of ordinary care."); Leesley v. West,
 518 N.E.2d 758, 761 (Ill. Ct. App. 1988) (holding that where the issue regards a
 manufacturer's failure to warn, "the manufacturer's duty is essentially the same
 under either a negligence or [a] strict liability theory"); Owens-Illinois, Inc. v.
 Zenobia, 601 A.2d 633, 640 (Md. 1992) (embracing negligence principles in strict
 liability causes of action for failure to warn); Hahn v. Richter, 673 A.2d 888 (Pa.
 1996) (stating that § 388’s reasonable care standard was applicable to a cause of
 action alleging strict liability failure to warn).


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 does so. He may have acquired it through one or more intermediate dealers. It is

 not even necessary that the consumer have purchased the product at all . . . . The

 liability stated is one in tort, and does not require any contractual relation, or

 privity of contract, between the plaintiff and the defendant”) (emphasis added).11

            In certain cases, a defendant may discharge its duty by providing warnings

 to “learned” or “sophisticated” intermediaries, though most jurisdictions have

 limited this doctrine to the specific context of pharmaceuticals. See, e.g., Pittman

 v. Upjohn Co., 890 S.W.2d 425, 429 (Tenn. 1994) (“a majority of jurisdictions

 now recognize that the manufacturer of an unavoidably unsafe prescription drug

 can discharge its duty to warn by providing the physician with adequate warnings

 of the risks associated with the use of its drug”); Wyeth, Inc. v. Weeks, 159 So. 3d

 649, 673 (Ala. 2014) (“A prescription-drug manufacturer fulfills its duty to warn

 the ultimate users of the risks of its product by providing adequate warnings to the

 learned intermediaries who prescribe the drug.”); but see Andreassen v. Saf-Gard

 Safety Shoe Co., 78 Pa D & C 4th 285, 302 (CP 2005) (“As a guarantor of its

 product, the duty to warn of any defects extends to the ultimate users and notice to

 11
   This section applies not only to physical harm to the user or consumer’s person
 but also to his or her property. See id. Each Plaintiff’s home state has adopted the
 reasoning of § 402A. See, e.g., Sinclair v. Merck & Co., Inc., 195 N.J. 51, 64
 (2008).; Nye v. Bayer Cropscience, Inc., 347 S.W.3d 686, 692 (Tenn. 2011);
 Caudle v. Patridge, 566 So.2d 244, 246-47 (Ala. 1990); Genie Indus., Inc. v.
 Matak, 462 S.W.3d 1, 6 n.9 (Tex. 2015); Parr v. Ford Motor Co., 109 A3d 682,
 688 (Pa. 2014); Mather v. L'Oreal USA, Inc., 695 S.E.2d 693, 695 (Ga. Ct. App.
 2010); Swift v. Serv. Chem., 310 P.3d 1127, 1131 (Okla. Ct. App. 2013).
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 a third party of such warnings will not serve to make the user aware of the defect in

 the product”).

            Regardless, in every jurisdiction, Defendant has a duty to provide warnings

 to foreseeable users of the product.12 Foreseeability itself is typically a question

 best left for the finder of fact, and Defendant simply cannot establish as a matter of

 law that Plaintiffs (and similarly situated consumers) were not foreseeable end

 users of products Defendant specifically designed and manufactured for use in

 residential plumbing applications.

            Furthermore, while Defendant takes issue with Plaintiffs’ allegations that its

 failure to warn proximately caused their injuries, to establish causation Plaintiffs

 must simply allege that they “would have avoided the risk had [they] been warned

 of it by the seller.” Diggs v. M&J Painting & Wallcovering, 34 Pa D & C 4th 397,

 411 (CP 1996). Plaintiffs’ SAC alleges exactly that: had NIBCO warned them (or,

 12
   See, e.g., Toms v. J.C. Penney Co., 304 Fed. App'x 121, 126-127 (3d Cir. 2008)
 (under New Jersey law, manufacturers have a duty to warn foreseeable users of all
 hidden or latent dangers that would arise out of a reasonably anticipated use of
 their products) (internal quotations and citation omitted); Avery v. Geneva County,
 567 So 2d 282, 287 (Ala. 1990); Fouch v. Bicknell Supply Co., 756 S.E.2d 682,
 689-690 (Ga. 2014) (“[w]hether a duty to warn exists depends upon foreseeability
 of the use in question, the type of danger involved, and the foreseeability of the
 user's knowledge of the danger. Such matters generally are not susceptible of
 summary adjudication and should be resolved by a trial in the ordinary manner”);
 Edwards v. Basel Pharms., 933 P.2d 298, 300 (Okla. 1997); Satterfield v. Breeding
 Insulation Co., 266 S.W.3d 347, 362-63 (Tenn. 2008); Humble Sand & Gravel,
 Inc. v. Gomez, 146 S.W.3d 170, 172 (Tex. 2004) (“Generally, a product supplier
 must warn expected users of foreseeable risks that make the product unreasonably
 dangerous”).
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 for that matter, a knowledgeable intermediary such as the contractor(s) who

 performed the work) of the defects inherent in the PEX Products, Plaintiffs would

 not have purchased the Products and, accordingly, would have avoided the exact

 harm they encountered when the Products failed. See SAC, ¶¶151, 292.

            Moreover, New Jersey, Pennsylvania, and Oklahoma have expressly adopted

 the “heeding presumption,” establishing a presumption of proximate cause in favor

 of plaintiff in the absence of an adequate warning (or, as here, any warning). See

 Bessemer v. Novartis Pharms. Corp., 2010 N.J. Super. Unpub. LEXIS 3177, at *37

 (Law Div. Apr. 30, 2010) (“[t]he heeding presumption provides the plaintiff with a

 rebuttable presumption on the issue of proximate cause that, if an adequate

 warning or instruction had been given, such warning or instruction would have

 been heeded by the plaintiff”) (internal quotations and citations omitted); Maya v.

 Johnson & Johnson & McNeil-PPC, Inc., 97 A.3d 1203, 1218 (Pa. Super. Ct.

 2014); Cunningham v. Charles Pfizer & Co., 532 P.2d 1377, 1382 (Okla. 1974).

 The presumption further defeats Defendant’s causation argument at the pleadings

 stage with respect to the Mr. Monica, Mr. Sminkey, and the Pepernos.

            Finally, while Defendant improperly goes beyond the SAC and speculates in

 a footnote that some of the installers of the PEX Products might have received

 warnings about the risks associated with PEX Clamps, it is black letter law that the

 duty to warn is non-delegable, and NIBCO cannot rely on a third-party entity to


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 provide warnings it should have provided itself. See Grier v. Cochran W. Corp.,

 308 N.J. Super. 308, 319 n.3 (App. Div. 1998) (“We agree with plaintiff's

 statement that a manufacturer may not delegate its duty to warn”); Mackey v.

 Maremont Corp., 504 A.2d 908, 916 (Pa. Super. Ct. 1986) (“a duty to warn is non-

 delegable and runs to the ultimate user of the product”); Humble Sand & Gravel v.

 Gomez, 48 S.W.3d 487, 494 (Tex. Ct. App. 2001) (“[t]he duty to warn is

 nondelegable” subject to certain exceptions not applicable here), rev’d on other

 grounds by Humble Sand & Gravel, Inc. v. Gomez, 146 S.W.3d 170 (Tex. 2004).

            All of this demonstrates the error in Defendant’s argument that “the Court is

 left to guess as to what warnings NIBCO provided, how those warnings may have

 been deficient, and whether Plaintiffs . . . would have acted any differently if a

 different warning were provided.” Db16. Plaintiffs’ response is straightforward:

 NIBCO provided no warning regarding the defect, the warning was deficient

 because it did not exist, and Plaintiffs would not have utilized, or would not have

 continued utilizing, the PEX Products in their plumbing systems had they (or their

 installers) been warned of the defects that would later cause the Products to fail.

            Defendant’s suggestion that its failure to warn could not have caused

 Plaintiffs any injury because they “failed to read any of the alleged inadequate

 warnings,” Db17, is a red herring because there was no warning. Notably, each of

 the cases Defendant relies on for this proposition dealt with a situation where some


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 warning was provided but the plaintiff either failed to allege how the content of

 that warning was deficient or that he or she actually saw the warning at issue.

 Here, there was no warning to see. And even if Plaintiffs could not have viewed or

 relied upon any warning prior to purchase, they certainly could have relied upon

 such warning after installation in order to avoid the injuries to their property (and

 attendant costs) that ensued when the Products actually failed.

            As a result, the allegations in the SAC are more than sufficient for Plaintiffs

 to proceed on their failure to warn claims.

            F. Mr. Sminkey Has Stated a Claim Under Oklahoma’s Consumer
               Protection Act

            Mr. Sminkey has adequately alleged facts that entitle him to relief under the

 Oklahoma Consumer Protection Act, Okla. Stat. Ann. tit. 15, §751 et seq. To

 establish a prima facie case under the OCPA, a plaintiff is required to show, for

 example, “that the defendant engaged in an unlawful practice as defined at Okla.

 Stat. Ann. tit. 15, §753.” Patterson v. Beall, 19 P.3d 839, 846 (Okla. 2000). These

 “unlawful practices include false or misleading representations; deceptive

 practices; practices which offend public policy and practices considered immoral,

 unethical, oppressive, unscrupulous or substantially injurious to consumers.” Cline

 v. DaimlerChrysler Company, 114 P.3d 468, 474 (Okla. Ct. App. 2015). The

 OCPA is remedial in nature it is to be liberally construed to effectuate its

 underlying purpose.” Patterson, 19 P.3d at 849.

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            The four elements of a consumer's private action under the OCPA are: (1)

 that the defendant engaged in an unlawful practice as defined at Okla. Stat. Ann.

 tit. 15, §753; (2) that the challenged practice occurred in the course of defendant's

 business; (3) that the plaintiff, as a consumer, suffered an injury in fact; and (4)

 that the challenged practice caused the plaintiff's injury. Patterson, 19 P.3d at 846.

            Mr. Sminkey identifies two separate false, misleading, and deceptive

 business practices on the part of NIBCO. He asserts a violation of Okla. Stat.

 Ann. tit. 15, §753(5), which defines a deceptive trade practice as “[k]nowingly

 mak[ing] a false representation as to the characteristics, ingredients, uses, benefits

 or quantities of goods or services or a false representation as to the sponsorship,

 approval, status, affiliation, or connection of a person therewith.” Likewise, Mr.

 Sminkey alleges a violation of §753(7), which prohibits conduct that “[r]epresents

 that goods or services are a particular standard, quality, or grade, or that goods are

 a particular style or model, if they are another.”

            The SAC specifically identifies NIBCO’s representations with respect to the

 quality of its PEX Tubing. The SAC cites to NIBCO’s warranty, product catalogs,

 website and other materials, which claim that its PEX tubing possesses “superior

 characteristics,” “superior properties,” and “delivers the highest quality PEX

 tubing available today.” See SAC, ¶122. Mr. Sminkey identifies specific

 misrepresentations of the characteristics and superiority of NIBCO’s PEX Products


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 on its website, in two separate NIBCO PEX catalogs, and in NIBCO’s product

 warranty. SAC, ¶¶120, 122. Further, he alleges that NIBCO made these

 misstatements when it knew, or should have known, that its PEX Products were

 failing as a result of premature oxidative failure and creep rupture, dezincification,

 and chloride-induced stress corrosion cracking. Id. at ¶¶2-4, 11, 121, 134-136.

            Finally, Mr. Sminkey alleges that NIBCO’s false, misleading and deceptive

 trade practice caused his injuries and that he would not have purchased NIBCO’s

 products absent the deceptive conduct. SAC, ¶ 292. Moreover, the SAC alleges

 that NIBCO’s actions affect the public interest because Plaintiffs were injured in

 exactly the same way as thousands of others purchasing NIBCO’s PEX products as

 a result of NIBCO’s generalized course of deception. SAC, ¶290.

            Based on the foregoing allegations, Mr. Sminkey’s OCPA claim is virtually

 identical to McAlister v. Ford Motor Co, 2015 U.S. Dist. LEXIS 106543 (W.D.

 Okla. 2015). There, the court refused to dismiss the plaintiff’s OCPA claim where

 it was alleged that the defendant knew of a defect and failed to disclose it in

 violation of the public policy of vehicle safety. See also Parks v. AT&T Mobility,

 LLC, 2011 U.S. Dist. LEXIS 3157 (W.D. Okla. Jan. 12, 2011) (refusing to dismiss

 OCPA claim at the pleading stage where it was alleged that the defendant’s

 advertising circular and customer service summary omitted material facts that

 deceived plaintiff and could have reasonably been expected to deceive others).


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            Hammonds v. Boston Sci., Inc., 2011 U.S. Dist. LEXIS 120943 (W.D. Okla.

 Oct. 19, 2011), cited by NIBCO, actually supports Mr. Sminkey. In Hammonds,

 the court dismissed the plaintiff’s OCPA claims because she failed to identify what

 warranties and misrepresentations were made. Id., at *5. Here, Mr. Sminkey

 specifically identifies both the warranties and misrepresentations made by NIBCO.

            Defendant’s “puffing” argument is incorrect. A representation is puffing

 when it is an opinion or made with respect to some future event. Bankers’ Trust

 Co. v. Brown, 107 P.3d 609, 614 (Okla. Ct. App. 2005). Even some

 representations as to the future can be actionable, however, since such

 representations “always carry an implied representation that the speaker knows of

 no facts which will prevent it from being accomplished; and as in the case of any

 other opinion, it has been held that there may be reasonable reliance upon the

 assertion where the speaker purports to have special knowledge of facts which

 would justify the expectations he is raising.” Hall v. Edge, 782 P.2d 122, 128 n. 4

 (Okla. 1989). Thus, the fact that statements relate to the future will not preclude

 liability for fraud if such statements were intended and accepted as representations

 of fact and involved a matter peculiar within the speaker's knowledge. API

 Enterprises, Inc. v. Am. Standard, Inc., 2008 U.S. Dist., LEXIS 23587, at *9-10

 (W.D. Okla. Mar. 25, 2008) (holding that whether statements of future

 performance constituted fraudulent misrepresentations or were puffing was a


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 factual question for the jury).

            NIBCO’s specific statements about its supposedly superior manufacturing

 methods,13 the disparity between NIBCO’s knowledge and that of Mr. Sminkey,

 and the fact that NIBCO’s representations related to the future performance of the

 PEX Products were made at a time when NIBCO was aware that its PEX Products

 were failing prematurely as a result of design and manufacturing defects, defeat

 any puffing argument. Therefore, Mr. Sminkey’s OCPA claim should be upheld.

                                       CONCLUSION

            For the reasons set forth above, Plaintiffs respectfully submit that

 Defendant’s partial motion to dismiss the SAC should be denied in its entirety.

 Dated: August 31, 2015                      LITE DEPALMA GREENBERG, LLC

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   Defendant’s representations that its PEX Products possess “superior
 characteristics,” “superior properties,” and “delivers the highest quality PEX
 tubing available today,” see SAC, ¶122, make an explicit comparison between
 NIBCO’s products and those of others as to which products, on the basis of
 objective science, have “superior characteristics [and/or] properties” or are of “the
 highest quality.” As this Court ruled in Lieberson v. Johnson & Johnson
 Consumer Cos., 865 F. Supp. 2d 529, 540 (D.N.J. 2011), claims that are “specific
 and measurable,” as are Defendant’s claims regarding the superiority of its
 Products compared to others, are not puffery.
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